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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MARIA ELENA RODRIGUEZ                            §
RAMIREZ,                                         §
    Plaintiff,                                   §
                                                 §
v.                                               § CIVIL ACTION NO.
                                                 §
CONTRACT FREIGHTERS, INC. and                    §
CARMELO CRUZ GARCIA,                             §
    Defendants.

                          DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, CON-WAY TRUCKLOAD, INC., Defendant in the above-entitled and

numbered civil action (hereinafter referred to as “Defendant”), and would respectfully show the

Court as follows:

       1.      Defendant is a party in the above-entitled action now pending in the County Court

at Law No. 5 of Dallas County, Texas, Cause No. CC-20-05264-E.

       2.      Maria Elena     Rodriguez Ramirez (hereinafter “Plaintiff”) filed her Original

Petition on December 4, 2020. Defendant Con-Way Truckload, Inc. was served with process in

this matter on or about December 9, 2020. Defendant Carmelo Cruz Garcia has not been served

at this time. This Notice of Removal is filed within thirty (30) days of Defendant’s receipt of the

Petition and is therefore timely filed pursuant to 28 U.S.C. § 1446(b).

       3.      Removal of this action is proper under 28 U.S.C. §§ 1332(a) and 1441(a) because

complete diversity of citizenship exists as among the named and served parties and because the

amount in controversy exceeds $75,000.00.

       4.      In Plaintiff’s Original Petition, Plaintiff Maria Elena Rodriguez Ramirez, who is a

citizen and resident of the State of Texas, alleges that on or about July 11, 2019, she was


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involved in a motor vehicle collision by a truck owned by Defendant Con-Way Truckload, Inc., a

corporation with its principal place of business in the State of Missouri, and driven by Carmelo

Cruz Garcia, a resident of Missouri. On December 4, 2020, Plaintiff filed suit against the

Defendants bringing state law tort claims for negligence and various liability, alleging damages

in excess of $1,000,000.00.

       5.      At the time Plaintiff filed her state court action, Defendant Con-Way Truckload,

Inc. had its principal place of business in the State of Missouri. Likewise, at the time of the

filing of this Notice of Removal, Con-Way Truckload, Inc. continues to maintain its principal

place of business in the State of Missouri.

       6.      At the time Plaintiff filed her state court action, Defendant Carmelo Cruz Garcia

resided in the State of Missouri. Likewise, at the time of the filing of this Notice of Removal, it

is Defendant’s understanding that Carmelo Cruz Garcia continues to reside in the State of

Missouri.

       7.      The District Courts of the United States have diversity jurisdiction when there is

complete diversity among the joined and served parties and when the amount of controversy

exceeds $75,000. 28 U.S.C. § 1332. Because there is complete diversity of citizenship, and the

amount in controversy exceeds $75,000.00, this case may properly be removed to this Court

pursuant to 28 U.S.C. § 1441(a).

       8.      All defendants who have been properly joined and served join in or consent to the

removal of this case to federal court.

       9.      Consent of Defendant Carmelo Cruz Garcia is not necessary because Defendant

Carmelo Cruz Garcia has not been served.




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       10.     Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings and orders filed

in the state court are attached hereto as Exhibit “A.”

       11.     This matter involves an amount in controversy exceeding $75,000.

       12.     Pursuant to 28 U.S.C. § 1446(d), Defendant has given written notice of filing of

this Notice of Removal to Plaintiff, and is filing a copy of this Notice of Removal with the Clerk

of the County Court at Law No. 5 of Dallas, Texas.

       WHEREFORE, PREMISES CONSIDERED, Defendant Con-Way Truckload, Inc. prays

that the above-mentioned civil action now pending against Defendants in the County Court at

Law No. 5 of Dallas County, Texas be removed to the United States District Court for the

Northern District of Texas, Dallas Division.

                                               Respectfully submitted,


                                               /s/ D. Randall Montgomery
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                                               ATTORNEYS FOR DEFENDANT
                                               CON-WAY TRUCKLOAD, INC.




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
instrument has been served upon all attorneys of record in accordance with the Federal Rules of
Civil Procedure on this the 23rd day of December, 2020.

VIA E-FILE
Luis F. Baez
Law Office of Maria Davilla, PLLC
P.O. Box 3726
McAllen, Texas 78502


                                            /s/ D. Randall Montgomery
                                            D. RANDALL MONTGOMERY




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